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EXHIBIT C

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wh U.S, DISTRICT CGURT

\o IN THE UNITED STATES DISTRICT S@RIRERN DISTRICT OF TEXAS
Or NORTHERN DISTRICT OF TEKAS FILED
DALLAS DIVISION
SEP ? & 2004
POSITIVE SOFTWARE SOLUTIONS, §
INC. § S; DISTRICT COURT
§ Deputy
Plaintiff, § nam
§
V. § Civil Action No. 3:03-CV-0257-N
§
NEW CENTURY MORTGAGE §
CORPORATION, et al., §
§
Defendants. §

MEMORANDUM OPINION AND ORDER

Before the Court are Plaintiff Positive Software Solutions, Inc.’s (‘Positive
Software”) motions to hold defendant New Century Mortgage Corp., et al. (collectively,
“New Century”) in contempt for violation of the Court’s preliminary injunction and
protective order, and its motion to vacate the arbitration award.’ The Court finds that New
Century violated the protective order but that the protective order is not sufficiently clear and
definite to be enforced by contempt. The Court also finds that the arbitrator failed to disclose
a significant prior relationship with New Century’s counsel. Because the failure to disclose

that relationship creates a reasonable impression of partiality, the motion to vacate is granted.

"New Century has reciprocal motions to hold Positive Software in contempt and to confirm
the arbitration award.

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I. NEW CENTURY’S VIOLATION OF THE
PROTECTIVE ORDER WAS NOT CONTEMPTUOUS

The Court has great difficulty with New Century’s conduct as disclosed in this Order.
With considerable reluctance, however, the Court has determined that it should not address
that conduct through the sanction of contempt.

A. Factual Background

1. New Century and Positive Software’s Prior Business Relationship. —New Century
is in the mortgage business. It generates business through telephone contacts with
prospective borrowers. Positive Software developed a software product called “LoanForce,”
which provides automated support for that process, in conjunction with other third-party
supplied software. In 2000, New Century licensed LoanForce from Positive Software (the
“Software Subscription Agreement” or “SSA”). Among other things, the SSA provides that
New Century acknowledges that LoanForce is Positive Software’s proprietary business
information and agrees to return all such proprietary information to Positive Software upon
termination of the SSA.

In late 2002 and early 2003, Positive Software became aware of a new software
package that New Century was using called LoanTrack, together with what are apparently

databases called LFMoon and LTKMoon (collectively, “LoanTrack-1”). Although Positive

*This section comprises the Court’s factual findings in connection with the motions for
contempt. Much of the language is drawn from the Court’s prior fact findings in connection
with other motions. Positive Software established the facts found in this section by clear and
convincing evidence.

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Software was not aware of the fact at the time, it presently appears that LoanTrack-1 was an
interim product that New Century intended to use as it made a transition away from
LoanForce to new products called LoanTrack-2 and MLAS. New Century claimed that
LoanTrack-2 and MLAS were developed partly by in-house programmers and partly by a
contractor called eConduit,>? and that the programmers worked in a “clean room”
environment with no access to the LoanForce code; that claim was false.

The Software Subscription Agreement required annual renewal and payment of
license fees. During 2002, New Century told Positive Software that New Century might
want to expand its LoanForce license to include all of New Century’s branch offices. During
that same time, New Century was preparing its transition away from LoanForce with the
development of LoanTrack-1 and LoanTrack-2. At the end of 2002, when renewal license
fees were due, New Century asked Positive Software to defer full payment of the renewal fee
and to consider alternative billing arrangements. Although Positive Software did not know
it at the time, New Century did this in order to continue its use of LoanForce until New
Century’s replacement product was ready, without having to incur the full annual license fee
for LoanForce.

Positive Software, unbeknownst to New Century, was investigating New Century’s
LoanTrack-1 project and had concluded that LoanTrack-1 was making improper use of

Positive Software’s intellectual property rights in LoanForce. Positive Software thus began

3New Century subsequently acquired eConduit.

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to prepare for litigation with New Century. On January 1, 2003, New Century went into
default under the Software Subscription Agreement. On January 6, 2003, Positive Software
sent New Century demand for payment. New Century never made the payments required
under the Software Subscription Agreement. On February 6, 2003, Positive Software
declared the Software Subscription Agreement to be terminated. This litigation soon
followed.

2. The Protective Order and Preliminary Injunction. — To protect the parties’
confidential information during the pendency of this action, the Court entered a protective
order (the “Protective Order”), signed on April 28, 2003. The agreed Protective Order
specifically identified the categories of individuals who were entitled to use or disclose
confidential information produced in the case and expressly provided, inter alia, that no
confidential information shall be disclosed to non-attorney employees of the receiving party.
Protective Order at 4, J 3 (“No disclosure of Confidential Information documents shall be
made to other [non-lawyer] employees.’’).

The Protective Order specifically prohibited New Century’s outside counsel from
disclosing Confidential Information to New Century employees. /d. at 4, 4 5 (“Nothing in
this Order shall preclude or impede Outside Counsel’s ability to communicate with or advise
his or her client based on his or her review and evaluation of Confidential Information
produced by the opposing party, provided that such communications or advice shall not

disclose or reveal such Confidential Information.”) (emphasis in original).

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On the same day the Protective Order was entered, the Court also entered a
Memorandum Order and Opinion granting Positive Software’s Motion for Preliminary
Injunction (“Preliminary Injunction”) enjoining New Century from any use of the LoanForce
software, the LoanForce database, LoanTrack-1, LF_Moon, and LTK_Moon.’ Preliminary
Injunction at 17.°

3. New Century’s Representations That It Would No Longer Use or Possess the
LoanForce Software. — New Century represented that the backup tapes and forensic copies
of LoanForce would be kept securely in the custody and control of New Century’s counsel.
Norment Declaration at { 10 (March 7, 2003) (“All these materials have been or will be
placed in a temperature controlled, secure location in the custody and control of legal

counsel.”). In an April 21, 2003 letter to the Court, lead counsel for New Century affirmed:

“The Preliminary Injunction “further ORDERED that New Century delete or return all
LoanForce software, including application software and the LoanForce database, that New
Century has the ability to access (excepting materials produced in discovery for use in this
litigation and/or arbitration.)” Preliminary Injunction at 17. However, upon request from
Positive Software, that sentence was later vacated. See Order (April 29, 2003). Had that
language remained in the Preliminary Injunction, this would be a much shorter Order.

°On January 15, 2004, after the instant dispute came to light, the Court signed an order
clarifying the Protective Order to include within the definition of “confidential information”:

the original and all copies (whether maintained as forensic images, or backup
tapes or disks, or any other format, documentary or electronic) of all or any
portion of the LoanForce code (both application and database), regardless of
how originally acquired, that are in the possession, custody or control of any
of the Defendants, any person or entity affiliated with the Defendants, or any
employee, contractor, or agent (including attorneys) of Defendants... .

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° New Century had no intention of ever again using LoanForce
application software, the LoanForce database, LoanTrack, LF Moon,
or LTK_ Moon.

° New Century would, no later than April 25, 2003 and under Dr.
Pooch’s supervision, delete or return to [Positive Software] all
LoanForce software, including application software and the LoanForce
database that New Century has the ability to access.

° New Century would not use LoanTrack-2 for telemarketing or any
other commercial purpose before May 12, 2003.

Based on those steps, he further represented that additional injunctive relief requested by
Positive Software “is not necessary. New Century, under Dr. Pooch’s supervision, has
removed any danger of imminent harm to [Positive Software’s] legitimate interests.”

On April 24, 2003, Dr. Udo Pooch stated that “New Century ceased using LoanTrack-
1 and the LoanForce database . .. commencing April 18, 2003.” Amended Declaration of
Udo Pooch, { 3. According to Dr. Pooch, as of April 18, 2003, “no New Century-Retail IT
personnel had access” to the data from the LoanForce database. Jd. at § 3. Dr. Pooch
personally “supervised and observed the deletion of LoanForce, LoanTrack, LTK Moon and
LF Moon. This was done following my direction and in my presence... .” Id. at 4.
Finally, Dr. Pooch affirmed, “[b]ased on my professional opinion, New Century has
satisfactorily cleansed itself of LoanForce, LoanTrack, LTK Moon and LF Moon.” Id. at¥5.
These representations were made while the Court was considering the scope of preliminary
injunctive relief and were intended to persuade the Court that no further injunctive relief was
necessary to protect Positive Software’s installed software at New Century’s facilities; the

representations did in fact affect the Court’s decision on that issue.

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4. New Century’s Continued Use of the LoanForce Software. — Notwithstanding
those representations, New Century continued to make use of LoanForce. New Century
accidentally produced to Positive Software a copy of an analysis New Century performed of
LoanForce and LoanTrack, which precipitated this dispute; New Century never intended to
disclose that use and sought return of the accidentally produced document. Following that
accidental production, New Century described its use of LoanForce to the Court,
characterizing it as minimal. New Century Mortgage’s Chief Technology Officer for its
Retail Division, John Norment, admitted that he had access to Positive Software’s
confidential source code in November 2003:

In November 2003, as part of New Century’s trial preparation, and in order to

assist New Century’s counsel in the case, I created a workbook using

Microsoft’s Excel spreadsheet program that compared the Loanforce database

schema to the database schema for products New Century had created,

including the LFMoon database, the LTK Moon database, and the LoanTrack

(for LoanTrack-1) database. In doing this work, I used the same database

schema for the databases that New Century produced to Positive in this

litigation on April 9, 2003. I did not use any material produced in this
litigation by Positive.
Norment Declaration at § 4.

In a subsequent letter to the Court, dated January 15, 2004, New Century’s lead
counsel provided additional information about Norment’s access to the Loanforce database:
[W]e understand that Mr. Norment first obtained access to the compact disks
containing [the] LoanForce database on June 16, 2003, when he signed the CD
out from the New Century legal department, which was maintaining the CD
and the forensic images that had been created under the supervision of Dr.
Pooch. Mr. Norment signed the CD back in on July 10, 2003. ... Mr.

Norment may have kept a copy of the CD’s contents on his “personal” sector
of a New Century server....

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In the same letter, lead counsel explained that “Mr. Norment suggested the idea of comparing
the code and reporting the results to counsel, and counsel agreed that such a comparison
might be useful and directed him to create it for purposes of investigating the facts
underlying Positive [Software]’s allegations of copying.” These representations substantially
understate New Century’s actual subsequent use of LoanForce.

5. New Century’s Actual Conduct. — Following the foregoing revelations, the
Court authorized discovery into New Century’s use of Positive Software’s software in the
course of this litigation, and held that the attorney-client privilege and work product
immunity were waived under the crime-fraud exception. To say that New Century was
reticent in providing discovery would be extreme understatement. Following this discovery,
a different picture of the facts and New Century’s conduct has emerged.

First, contrary to New Century’s representations that all of LoanForce had been
purged from their computer systems and placed under lock and key in their legal department,
it appears that New Century maintained numerous copies of the LoanForce databases in New

Century’s backups, which could be restored by a simple request to New Century’s help desk.®

The Court is not suggesting that it was misled regarding the existence of backups. Indeed,
preservation of existing backups and images was required by the Court’s May 2, 2003
modification of the Preliminary Injunction, made at Positive Software’s request. Rather the
Court is saying that the subsequent reinstallation of the backups was inconsistent with New
Century’s representation that it had purged its computers of LoanForce. Admittedly, New
Century’s lead counsel’s letter to the Court advising that LoanForce would be purged from
New Century’s computer systems did not say “and we won’t put it back.” At the hearing on
the contempt motions, New Century’s lead counsel appeared to latch onto this possible
loophole, stating he believed that New Century’s subsequent conduct was consistent with his
representations to the Court in his letter. See 8/12/04 Trans. at 119. The Court rejects the

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Second, contrary to New Century’s representations that Norment merely obtained the
forensic copy from the legal department and used it for a month to generate his analysis, it
appears that seven or eight different backup copies of the LoanForce database were restored
to New Century’s servers for analysis. Norment directed Robert Haas to undertake to
recreate LoanForce for Norment’s use in litigation support activities. Haas obtained no fewer
than seven different versions of the LoanForce database from backup tapes and restored them
to New Century servers. Some of those servers were available to any New Century employee
with general network privileges, including database programmers and architects.’

This project also involved the restoration of the LoanForce application software on
the desktop computer of Norment’s personal assistant, Alicia Espinoza on December 18-19,
2003, to create a fully-operational LoanForce system (which requires both the database
component as well as the desktop application software). Only a week before, on December
11, 2003, Norment testified at deposition that all LoanForce application software had been

deleted from New Century’s computers. New Century’s co-counsel was aware of both

notion that counsel can properly represent to the Court that his client will implement
corrective measures, and therefore no further Court action is required, and then covertly
“undo” the corrective measures; that is wholly inconsistent with a lawyer’s duty of candor
toward the Court. See, e.g., TEX. DISCIPLINARY R. PROF’L CONDUCT 3.03(a)(2), (b).

"Indeed, more recent analysis of electronic discovery suggests that the presence of and access
to LoanForce may have been even more pervasive at New Century after April 28, 2003. This
would appear to be a difficulty for New Century’s “clean room” defense of LoanTrack-2.
Because further consideration of the electronic discovery is not material to disposition of the
instant motions, the Court will not address it further. New Century’s motion to strike such

materials is therefore denied as moot.

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Norment’s testimony and the subsequent reinstallation of the software on Espinoza’s desktop
and took no steps to correct Norment’s deposition testimony. New Century’s co-counsel was
also well aware of the scope of Norment’s investigation and failed to correct the misleading
impression created by New Century’s lead counsel’s representations to the Court.®

Two additional points are worth noting, though they do not directly affect the
contempt issues. First, Haas’s ability to locate LoanForce materials from New Century’s
backup media stands in sharp contrast to New Century’s representations to the Court of the
difficulty involved in locating such materials when Positive Software was seeking them in
discovery. Second, during the course of the Norment project, New Century located the script
used to create the original LoanForce database delivered to New Century in November 2000.
In the arbitration proceeding, Positive Software had consistently sought in discovery the
earliest version of LoanForce available, including repeated requests in November and
December of 2003. Discovery of the original version was significant because LoanForce
evolved after it was delivered to New Century, and apparently Positive Software did not
retain a copy in the “as delivered” state. Because New Century did not produce the original
version to Positive Software, Positive Software had no opportunity to compare it to
LoanTrack-2; instead, Positive Software based its testimony of infringement at the arbitration
on a comparison with a version of LoanForce that had been modified by New Century. The

Arbitrator significantly discounted Positive Software's comparison testimony because of this

*The record is not clear regarding whether New Century’s lead counsel was aware of
Norment’s activities when they were taking place.

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perceived defect. See Award at 52-53, 79-80, 81-82 (“Given the paucity of evidence in the
record respecting the work in which copyright was originally claimed, essentially no material
comparisons have been made or can be made. Thus the burden of proof of showing
copyright infringement respecting the SQL statements or database schema of the copyrighted
work has not been met.”). Significantly, Norment advised New Century’s co-counsel of the
discovery of the November 2000 version in e-mails in December 2003, approximately a
month before the arbitration and during the same period Positive Software was repeatedly
requesting production of the earliest available version. Amazingly, New Century’s co-
counsel nonetheless failed to produce the script for the original version of LoanForce.
B. New Century’s Conduct Violated the Protective Order’

The Court first addresses whether New Century’s conduct actually violated the
Protective Order. The Court conducts this inquiry before it considers whether the Protective
Order is sufficiently definite and certain to be enforced by contempt. The Court follows this
sequence, rather than the reverse, to ensure that future litigants have a clear understanding

of how to follow protective orders such as the one in this case.’

*Much of this section is taken from the Court’s Order of March 3, 2004.

This is similar to the reason that courts in qualified immunity cases first analyze whether
there is an allegation of violation of a constitutional right before considering whether the
other elements of immunity are established; to follow the reverse order would result in the
contours of constitutional rights never becoming clearly established.

In the course of determining whether a constitutional right was violated on the

premises alleged, a court might find it necessary to set forth principles which

will become the basis for a holding that a right is clearly established. This is

the process for the law’s elaboration from case to case, and it is one reason for

our insisting upon turning to the existence or nonexistence of a constitutional

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1. The Text of the Protective Order Does Not Authorize New Century’s Conduct.
— The starting point of this inquiry is the language of the Protective Order.'' New Century
argues that its conduct was proper under two provisions of the Protective Order: (1) the
definition of Confidential Information; and (2) the provision excluding a party’s own
materials from the limitations on use of Confidential Information. The Court finds that
neither of those provisions authorizes New Century’s conduct.

The language of the Protective Order makes clear that “Confidential Information”
includes information, not merely the medium on which the information is found:

Confidential Information. [1] Upon a determination by any party or non-
party from whom discovery is sought (the “Designating Party”) that any
documentation or thing being produced or disclosed, whether formally or
informally, including but not limited to [listing various discovery
mechanisms], contains a trade secret or other proprietary or business
information that the Designating Party would, in the ordinary course of
business, not disclose to competitors, the Designating Party may designate
such document or thing “Confidential” (collectively, “Confidential
Information’’). [2] Confidential Information shall include, inter alia, any
document or thing that the Designating Party believes in good faith constitutes
or embodies matter used by it in or pertaining to its business, which matter is
not generally known and that the Designating Party would not normally reveal
to third parties or would cause third parties to maintain in confidence.

right as the first inquiry. The law might be deprived of this explanation were

a court simply to skip ahead to the question whether the law clearly established

that the officer’s conduct was unlawful in the circumstances of the case.
Saucier v. Katz, 533 U.S. 194, 201 (2001); see also Siegert v. Gilley, 500 U.S. 226, 232
(1991). Likewise here, the Court intends to ensure that future litigants find similar protective
orders to be clear, definite, and free from any ambiguity.

''When interpreting the terms of a court order, courts should consider the plain meaning of
the language and the normal usage of the terms in question. See, e.g., City of Hartford v.
Chase, 942 F.2d 130, 134 (2d Cir. 1991).

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[3] Confidential Information further includes, but is not limited to, technical
information such as product design and manufacturing techniques or
processing information, trade secrets, formulas, research and development
information, customer lists, sales and cost information, and pricing
information, license agreements, or information that was generated in
connection with, or reveals the content of, licensing negotiations; information
that a party has treated as confidential and is not subject to public disclosure;
information within the definition of trade secret as set forth in Section 1(4) of
the Uniform Trade Secret Act (1985); and any other information that would
qualify as Confidential pursuant to Federal Rule of Civil Procedure 26(c) or
any other legal standard.

Protective Order at { 1 (bracketed numbers added). The three sentences thus provide:

[1] A party producing a document or thing containing proprietary information

may designate that as “Confidential Information”;

[2] “Confidential Information” includes, among other things, the physical

document or thing itself containing the proprietary information; and

[3] “Confidential Information” further includes the proprietary information

that is contained in the designated physical document or thing.

The first sentence says how Confidential Information is designated, and the second and third
sentences say what Confidential Information includes: both the physical document or thing
and the proprietary information embodied in the physical document or thing.

New Century argues that the clause “any documentation or thing being produced or
disclosed” in the first sentence limits the definition of Confidential Information to items
produced in the course of litigation. This interpretation, however, ignores the language of
the second and third sentences of the paragraph, which make clear that “Confidential
Information” also includes information contained in the designated document or thing, not

just the physical object by which that information was transferred from one party to another.

While the first sentence read alone might be unclear regarding whether “Confidential

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Information” means either the document or thing itself or the information contained in it, that
is clarified by the following two sentences: The answer is “both.”

When construing the Protective Order as a whole, and not just the clause emphasized
by New Century, the Court reads “Confidential Information” to include information, not just
the physical object embodying that information (namely, a document or thing produced in
the course of litigation). Thus, a more logical reading of the clause in question would be that
Confidential Information refers to trade secrets or other proprietary business information that
would not ordinarily be disclosed to competitors. “Any documentation or thing being
produced or disclosed” may, if it qualifies as confidential information, be designated as
confidential. But if it is properly so designated, it is the information contained in the
document or thing, and not simply the document or thing itself, that is protected.

This is consistent with treatment of Confidential Information elsewhere in the
Protective Order. Thus, the Protective Order provides,

No party, counsel, or other person receiving any document or thing that is

designated as “CONFIDENTIAL” in accordance with § 1 of this Order (the

“Receiving Party”) shall use, disclose, or permit the use or disclosure of any

such Confidential Information to any other person or entity... .

Protective Order at { 3. The prohibition on use or disclosure applies to the information in
designated materials, not merely the materials themselves. Once Positive Software
designated LoanForce as Confidential Information, that designation extended to the

proprietary information embodied in LoanForce, regardless whether that information was

embodied in the physical copy produced in discovery or the physical copy retained by New

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Century as a forensic copy supposedly under lock and key in its counsel’s office. Thus, the
plain language of the Protective Order precludes New Century’s conduct.

New Century also argues that its use of Positive Software’s Confidential Information
is permitted by the clause in the Protective Order that provides: “This Order does not restrict
in any manner the use or disclosure by any Designating Party of any information in its own
documents and things.” Protective Order at § 16. The fact that New Century may have
retained a forensic copy of the LoanForce software does not make that “its own documents
and things.” Moreover, the Court already found that “Positive Software owns the rights to
LoanForce and holds valid copyright registrations for LoanForce and its component parts.”
Order at 5 (April 28, 2003). Furthermore, Positive Software licensed its software to New
Century for a limited purpose. Under the terms of the licensing agreement, any right to
access in the Confidential Code licensed to New Century ended upon termination of the
licensing agreement. Software Subscription Agreement at J 12 (“Upon termination of any
License hereunder, Customer shall return the Product (and any copies made pursuant to
Section 2) and all related documentation to Positive.”). As of February 6, 2003, Positive
Software terminated the Software Subscription Agreement. See Preliminary Injunction at
4. The Court therefore finds that back-up tapes and forensic copies containing LoanForce
clearly do not qualify as New Century’s own documents and things for purposes of J 16 of
the Protective Order.

2. An Order Must Not Be Given an Interpretation That Renders It a Nullity. — In

addition to being inconsistent with the actual language of the Protective Order, New

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Century’s interpretation would result in the Protective Order having essentially no practical
effect. The Court is reluctant to interpret its orders in a manner that renders them a pointless
exercise, and the case law supports that reluctance. That is particularly the case when, as
here, there is an alternative construction that gives life and effect to the order. And here such
an alternate construction need not be implied into the words of the order — the Protective
Order itself makes clear that its protection extends not just to the document or thing
produced, but also to the proprietary information contained or embodied in that document
or thing.

The Fifth Circuit has made clear that it will not interpret “confidential information”
in a way that renders a protective order a nullity by construing the term to refer to the
medium on which information is stored, rather than the information itself. In Lyn-Lea Travel
Corp. v. American Airlines, Inc., Lyn Lea and its counsel appealed a finding by the district
court that they had violated “protective orders relating to confidential documents obtained
during discovery” by disclosing the information contained in those documents. 283 F.3d
282, 290 (Sth Cir. 2002). Seeking to avoid a finding of contempt, Lyn Lea and its counsel
argued that the protective orders at issue “merely prohibited disclosure of the confidential
documents but did not prohibit disclosure of the contents of such documents.” Jd. at 291.
Affirming the contempt finding, the Fifth Circuit held that the protective orders must have
precluded the disclosure of the information itself, and not merely the paper on which they
were stored. Otherwise, the protective order would have no effect. Id. ( “Lyn-Lea’s reading

of the protective orders would render them a nullity.”).

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Other circuits have likewise reached the conclusion that orders must not be read to
render their terms a nullity. See, e.g., United States v. Greyhound Corp., 508 F.2d 529, 533
(7th Cir. 1974) (rejecting “twisted interpretations” of an order that would render a provision
of the order a nullity); First Nat’! Bank & Trust v. Dep’t of the Treasury, 63 F.3d 894, 899
(9th Cir. 1995) (“The Bank admits violating various policies which it had adopted pursuant
to the cease and desist order, yet insists it did not violate the cease and desist order. The Bank
contends the order required only ‘adoption,’ not actual implementation, of the policies.
Therefore, the Bank reasons, its failure to abide by those policies amounted to just that, a
violation of the policies, not the terms of the cease and desist order. This argument is
without merit. As the Comptroller puts it, ‘the Bank’s reading would render the cease and
desist order meaningless; there is no point in having the Bank adopt a comprehensive
revision of its policies and practices if the Bank is not obliged to abide by’ them.”);
Bancamerica Commer. Corp. v. Mosher Steel, 100 F.3d 792, 795 (10th Cir. 1996) (rejecting
a reading of an EPA order that would render meaningless one of its provisions).

If orders prohibiting the disclosure of confidential information are to have any
meaning, they must prohibit disclosure in any form. In City of Hartford v. Chase, the parties
reached a settlement agreement conditioned on a confidentiality order from the judge
prohibiting the disclosure of materials related to the settlement agreement. 942 F.2d 130,
135 (2d Cir. 1991). The Hartford Courant and one of its reporters intervened to vacate the
confidentiality order. The district judge ruled that it was unnecessary to vacate the

confidentiality order because that order applied only to disclosure of the court file, not

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materials containing the same information in the city’s possession. Disclosure of the city’s
materials, the district judge reasoned, could be compelled under the Connecticut Freedom
of Information Act. Rejecting the district court’s interpretation of the Confidentiality Order,
the Second Circuit concluded that:

[t]he district court’s interpretation of the Confidentiality Order would also
make that order meaningless. If the City has in its possession all the
documents that are contained in the court file, and documents in the City’s
possession are not protected from disclosure, sealing the court file would serve
no purpose — the contested material could be obtained simply by requesting it
from the City itself. We find it hard to believe that the parties would have
gone to such great efforts to draft an order with no practical effect.

Id.
In Grove Fresh Distributors, Inc. v. John Labatt Ltd., 888 F. Supp. 1427, 1437 (N.D.
Ill. 1995), an Illinois district court faced similar arguments:

Mr. Messina’s primary defense is his assertion that the scope of the orders of
confidentiality was so limited that neither the protective order nor the seal
prohibited his disclosures. According to Mr. Messina, the protective order
prohibited the dissemination of very little. Mr. Messina testified that he did
not understand the protective order to prohibit him from revealing the contents
of pleadings. Nor from revealing confidential discovery information such as
answers to interrogatories nor answers to requests to admit. Nor from
disclosing the deposition testimony of witnesses. Nor from disseminating the
contents of documents marked “confidential.”

Mr. Messina’s interpretation of the seal order is similarly cramped. Mr.
Messina testified that he did not understand the seal order as preventing him
from revealing the contents of depositions under seal, other discovery
materials under seal, or quoting verbatim from sealed materials. The only
thing that Mr. Messina believed the sealing order actually prohibited was the
public disclosure of the actual pleadings — the physical documents themselves
— filed in the case.

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In rejecting Messina’s argument, the Grove Court called the view that one may disclose the
content of confidential documents but not the physical documents themselves a “tortured”
interpretation of the Court’s order. Jd. at 1438 (noting that “[c]Jourts are not and should not
be compelled to accept ‘twisted interpretations’ or ‘tortured constructions’ of an order”).
Messina’s reading of the order renders it useless. Jd. (noting that because a court order is
issued to be obeyed, “a court should not interpret the order in such a way as to render it a
nullity”).

Together, Lyn-Lea, City of Hartford, and Grove stand for the proposition that a court
should not read “confidential information” in a protective order in a way that will render the
order a nullity. Yet that is precisely what New Century’s reading of the Protective Order asks
this Court to do. Under New Century’s interpretation, the information that receives
protection when it is stored on media produced in the course of litigation receives no
protection when it is stored on backup tapes or forensic copies.'? The cited cases reach that
result as a matter of construction of the term “confidential information” in a manner to
prevent the order in question from being a nullity. The argument against New Century’s
construction is even stronger in this case, where the Protective Order explicitly provides that
a designation as Confidential Information includes not only the document or thing so

designated, but also the information contained in that document or thing.

"Indeed, under New Century’s reading, nothing in the Protective Order would prevent
posting the source code for LoanForce on the Internet, so long as it was copied from the
backup tapes, rather than media produced in the course of litigation.

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3. Orders Must Be Read in Context with Other Orders. — The Protective Order does
not exist in a vacuum, and it should be read in the context of the litigation.’ New Century’s
interpretation of the Protective Order would conflict with other orders in effect at the time.
On April 28, 2003, this Court signed a Preliminary Injunction enjoining New Century and
any person acting in active concert with it “from any use of the LoanForce software, the
LoanForce database, Loan-Track-1, LF Moon, and LTK Moon.” Preliminary Injunction
at 16-17. The Court made clear that the purpose of the Preliminary Injunction was to enforce
the terms of the Software Subscription Agreement and enjoin any further misappropriation
of Positive Software’s confidential information. Jd. at 4 n.4 (“Positive Software requests
relief to enforce the terms of the Software Subscription Agreement, enjoin further
misappropriation of its confidential information, and preserve the status quo between the
parties pending arbitration. The issuance of a preliminary injunction, thus, is proper.”). The
Software Subscription Agreement makes clear that upon termination of the Subscription
Agreement, any continued use of Positive Software’s software is prohibited. (“[U]pon
termination of this Agreement, Customer agrees to return to Positive, or promptly destroy at
the direction of Positive, at any time upon request of Positive for any reason, any other

Confidential Information, including any source of electronic information and all records,

In one of its briefs, New Century cites Riccard v. Prudential Ins. Co., 307 F.3d 1277, 1296
(11th Cir. 2002), for the proposition that courts must give their orders a “reasonable
interpretation.” New Century’s Opposition to Positive Software’s Motion for Contempt at
6. In determining whether an interpretation is reasonable, the Riccard Court emphasizes that
“[c]ontext is often important to meaning, and so it is here.” Jd. at 1297.

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notes, documents, drawings, prototypes, specifications, programs, data, devices and other
materials containing or pertaining to any Confidential Information.” Software Subscription
Agreement at J 7(D).'* As of February 6, 2003, Positive Software terminated the Software
Subscription Agreement. See Preliminary Injunction at 4.

Together with the Protective Order, these documents demonstrate that the clear intent
of the Court and the parties was to prevent those making allegedly infringing and competing
software from using or copying LoanForce. Taken in this context, New Century’s
construction of the Protective Order is not viable.

4, An Order Requires Less Specificity When It Is Written for Lawyers. — New
Century’s interpretation is even less reasonable because the audience was not laypersons, but
lawyers. An order requires less specificity when the audience is a member of the bar. Grove,
888 F. Supp. at 1438 (“When the audience is a member of the bar, that fact will be taken into
account in determining reasonable specificity, and orders that would otherwise require
greater specificity for a layperson will require less for a lawyer.”).

As Positive Software points out in its brief, the audience for the Protective Order at
issue in this case is a publicly traded corporation with an in-house legal department,
represented by a well-regarded law firm. Moreover, the allegedly infringing conduct took
place at the direction and with the consent of New Century’s counsel. See, e.g., New Century

Letter (January 15, 2004) (“Mr. Norment suggested the idea of comparing the code and

“In the Software Subscription Agreement, “Confidential Information” is a defined term, with
a definition that is not the same as that in the Protective Order.

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reporting the results to counsel, and counsel agreed that such a comparison might be useful
and directed him to create it for purposes of investigating the facts underlying Positive
[Software]’s allegations of copying.”). Thus while a layperson might not be familiar with
the distinction in intellectual property law between the tangible medium containing
information and the information itself, New Century is hard pressed to profess such
ignorance.

The Court therefore finds that Positive Software has shown by clear and convincing
evidence that New Century violated the Protective Order.

C. The Protective Order Is Arguably Not Sufficiently Definite

The Court must now address New Century’s contention that the Protective Order
cannot be enforced by contempt because it is not sufficiently definite. Several of New
Century’s arguments appear to go to its state of mind, i.e., it had a good faith belief that the
Protective Order should be read to apply only to documents produced by Positive Software
in discovery.'* The Court declines to consider those arguments for two reasons. First, in
civil contempt state of mind is not a consideration. “Ina civil contempt proceeding, the party
seeking an order of contempt need only establish (1) that a court order was in effect, and (2)
that the order required certain conduct by the respondent, and (3) that the respondent failed

to comply with the court’s order.” FDIC v. LeGrand, 43 F.3d 163, 170 (Sth Cir. 1995)

'SFor example, New Century offers the Declaration of Michael O’Neil, indicating that orders
such as the Protective Order are not typically construed to cover documents other than those
produced in discovery.

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(citing Martin v. Trinity Industries, Inc., 959 F.2d 45, 47 (Sth Cir.1992)). “Intent is not an
issue in civil contempt proceedings; rather, the question is whether the alleged contemnors
have complied with the court’s order.” Whitfield v. Pennington, 832 F.2d 909, 913 (Sth Cir.
1987) (citing Jim Walter Resources v. Int’l Union, United Mine Workers, 609 F.2d 165, 168
(Sth Cir. 1980)). Second, determining whether an order is sufficiently definite to be enforced
by contempt is a question of law for the Court. See Martin v. Trinity Indus. Inc., 959 F.2d
45, 47 (Sth Cir. 1992) (reviewing issue de novo); cf Instone Travel Tech Marine & Offshore
v. Int’l Shipping Partners, Inc., 334 F.3d 423, 431 (Sth Cir. 2003) (whether contract is
ambiguous is question of law for the court). Accordingly, the Court need not, and does not,
determine whether New Century or its counsel acted in good faith.

The Court now considers whether the Protective Order was sufficiently definite for
New Century’s violation to be punished by contempt. “Contempt is committed only if a
person violates a court order requiring in specific and definite language that a person do or
refrain from doing an act. The judicial contempt power is a potent weapon which should not
be used if the court’s order upon which the contempt was founded is vague or ambiguous.”
Martin, supra, 959 F.2d at 47 (internal quotations and citations omitted). Accord Piggly
Wiggly Clarksville, Inc. v. Mrs. Baird’s Bakeries, 177 F.3d 380, 382-83 (5th Cir. 1999).

As indicated above, the Court believes the Protective Order has a definite meaning,
and in that sense it is not ambiguous. However, there are characteristics of the language that
perhaps do not provide specific and definite language requiring New Century to refrain from

making litigation-related use of its backup copies of LoanForce. First, the Protective Order

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facially relates to materials produced in discovery; although the Court holds that it applies
to the informational content, as well as the physical copy, a party might not have read it that
way without the benefit of the Court’s analysis above. Second, the Protective Order also
expressly does not restrict a party’s use of its own documents; again, although the Court
holds that language does not permit New Century free use of the backup copies of
LoanForce, a party might not have read it that way without the benefit of the Court’s analysis
above. Third, relief relating to copies of the software properly obtained during the pendency
of the business relationship, which was one of Positive Software’s substantive claims for
relief, might reasonably be expected to be in the preliminary injunction, which related to
relief on the merits, rather than in the protective order, which primarily related to discovery.
Fourth, the Protective Order did not expressly state in so many words that a designation of
materials as confidential also applied to copies of the designated materials already in the
possession of the receiving party.
D. Conclusion on Contempt

The Court, with considerable reluctance, holds that the Protective Order was not
sufficiently clear and definite to be enforced by contempt. The Court’s reluctance arises
from the Court’s view that New Century’s conduct was not appropriate. The reluctance is
heightened by the Court’s conviction that New Century knew that if the Court or Positive
Software were aware of New Century’s conduct, it would be expressly prohibited. And the
conduct was not already expressly prohibited only because New Century represented that

such prohibition was unneeded. New Century thus created a loophole, and then covertly took

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advantage of it. Although the Court has held that New Century’s conduct was prohibited by
the Protective Order, New Century has successfully muddied the waters to an extent that
contempt for violation of the Protective Order is not available.

The Court must note two more concerns. First, the Court is distressed that New
Century’s lead counsel represented to the Court that New Century would take certain steps
and, therefore, that Positive Software did not need further relief from the Court, and then
once the Court denied additional relief, New Century did exactly the opposite of what it
represented. While the Court is most unhappy at being misled, that is not a basis for
contempt for violation of either the Protective Order or the Preliminary Injunction — the
grounds raised by Positive Software in its motions. The Court is skeptical that New
Century’s lead counsel did not know what co-counsel was doing with Norment, and that co-
counsel did not know what lead counsel had represented to the Court. Absent that double-
ignorance, counsel should have at minimum notified the Court that the prior representations
were no longer correct.

Second, the Court is most distressed that New Century did not timely produce the
November 2000 SQL script. This is not simply a case of the document not being found in
time to produce. It was found in time, about a month before the arbitration, and New Century
so advised its co-counsel — at or about the same time Positive Software was reiterating its
request for the earliest version of the database that New Century had. New Century simply
did not produce it, and offers no explanation for that failure. But discovery abuse is likewise

not a basis for contempt; in this case, moreover, the discovery was proceeding under the

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supervision of the arbitrator, not the Court, and thus is beyond the reach of Rule 37. The
Court’s lack of response in this case to New Century’s failure to produce the November 2000
script should not be taken as approval.

Accordingly, Positive Software’s motion for contempt is denied.'®

IJ. THE ARBITRATOR’S FAILURE TO DISCLOSE HIS PRIOR
RELATIONSHIP WITH NEW CENTURY’S COUNSEL GIVES RISE TO AN
APPEARANCE OF PARTIALITY THAT REQUIRES VACATING THE AWARD

Following the Award, Positive Software became aware, for the first time, that the
Arbitrator had a prior relationship with New Century’s counsel. The Arbitrator served as co-
counsel with New Century’s counsel over a period of years in significant litigation.
Although the Arbitrator was required to disclose that relationship under AAA rules, he never
disclosed it. In Positive Software’s view, this prior relationship explains the Arbitrator’s
evident distaste for Positive Software’s position. The Court need not reach that question,
however. The Court holds that the Arbitrator’s prior relationship “might create an
impression of possible bias.”” Commonwealth Coatings Corp. v. Continental Cas. Co., 393
U.S. 145, 149 (1968). Accordingly, the Arbitrator’s failure to disclose that relationship
deprived Positive Software of the opportunity to make an informed choice of arbitrators and

requires vacatur of the award.

'°New Century’s motion for contempt and Positive Software’s second motion for contempt
are likewise denied. Positive Software’s motion, to the extent it is based on violation of the
Preliminary Injunction, is denied because the Court does not construe the prohibition on
“use” of the software to include use of the software incidental to New Century’s defense of
this action.

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A, Factual Background

1. The Intel Litigation. — (ntel Corporation and Cyrix Corporation were involved in
protracted patent litigation for seven years in the 1990s (the “Intel Litigation”).'’ The
litigation began in 1990, see Cyrix Corp. v. Intel Corp., 803 F. Supp. 1200 (E.D. Tex. 1992)
(reflecting Cause No. 4:90CV264), and lasted until April 26, 1996, when rehearing was
denied. See Cyrix Corp. v. Intel Corp., 77 F.3d 1381 (Fed. Cir. 1996). It appears that New
Century’s outside law firm in this matter (“SG Law Firm”) and the Arbitrator’s law firm
(“AWD Law Firm”) represented Intel as co-counsel from the beginning of the action. See
803 F. Supp. at 1202. Indeed, New Century’s co-counsel in this case appeared for Intel early
in the litigation. See id.

The Arbitrator began representing Intel in the Intel Litigation in September 1992.
New Century claims that co-counsel’s personal involvement in the case ended in
approximately July 1992, before the Arbitrator’s involvement in the case began. However,
co-counsel’s name continues to appear with the Arbitrator’s name on pleadings as late as
June 1993. See, e.g., Intel’s Opposition to Cyrix’s Motion to Preclude Intel from Referring
to the Presumption of Validity in the Presence of the Jury, filed January 19, 1993; Intel’s
Supplemental Opposition to Cyrix’s Motion to Set the Order of Trial, filed June 15, 1993;
see also Intel’s Notice of Appeal to the Federal Circuit on September 19, 1993 (bearing co-

counsel’s name and AWD Law Firm, but not the Arbitrator personally). Moreover, Court

'’The Intel Litigation involved five related lawsuits.

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opinions still reflect New Century’s co-counsel personally as one of the counsel for Intel,
together with AWD Law Firm, as late as 1995. See Cyrix Corp. v. Intel Corp., 879 F. Supp.
672, 673 (E.D. Tex. 1995). Apparently, New Century does not deny the Arbitrator’s past
relationship with SG Law Firm and other SG Law Firm lawyers who all served as co-counsel
for Intel in the Intel Litigation.

2. The Arbitrator’s Failure to Disclose the Prior Relationship. — Arbitration of this
matter took place under the auspices of the American Arbitration Association (“AAA”).
Pursuant to AAA procedures, AAA gave the parties a list of candidate arbitrators, including
the Arbitrator, and asked them to rank the candidates. New Century’s counsel did not
disclose their prior relationship with the Arbitrator. After AAA eliminated candidates who
were objectionable, the Arbitrator was the highest ranked candidate and he became the
presumptive arbitrator.'* Had Positive Software been aware of the Arbitrator’s prior
relationship with New Century’s co-counsel and with SG Law Firm, co-counsel’s law firm,
Positive Software would not have ranked the Arbitrator so highly, and he would not have
become the arbitrator in this matter.

On June 18, 2003, AAA wrote the Arbitrator to determine his availability to serve;
AAA’s letter explicitly disclosed that SG Law Firm and, in particular, New Century’s co-
counsel, represented New Century in the pending arbitration. At the bottom of the letter

appeared the following:

'’There were other steps in the selection process not material to this decision.

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**** IMPORTANT REMINDER****
Please remember, your obligation to disclose any circumstance likely to
affect impartiality or create an appearance of partiality is ongoing. Should
you become aware of a new or additional disclosure, please notify your case
manager immediately|.] (emphasis in original).

On June 23, 2003, the AAA confirmed the Arbitrator’s agreement to serve as the sole
arbitrator. The AAA informed the Arbitrator that the case “will be administered under the
Association’s Commercial Dispute Resolution Procedures as amended and in effect January
1, 2003,” and directed him to their location on the internet. The Arbitrator also received
written copies of the Rules, the Guide for Commercial Arbitrators, and the Code of Ethics.
The confirmation also included a Notice of Appointment Form and the Arbitrator’s Oath.
The bottom of the confirmation letter contained the same “important reminder” regarding the
Arbitrator’s duty to disclose.

On the same day he received the AAA’s confirmation of his appointment, the
Arbitrator mailed in his acceptance. In that letter, he stated, “Enclosed is the completed
Arbitration Disclosure Form indicating that I have nothing to disclosed [sic] in view of the
... attorneys ... identified in the materials you sent me under cover of your June 18 letter.”

In addition to the letter, the Arbitrator provided a completed Notice of Appointment
form that included questions “designed to help you decide if you have something to

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disclose.” One of the twelve questions was: “Have you had any professional or social
relationship with counsel for any party in this proceeding or the firms for which they work?”

The Arbitrator indicated, “I have nothing to disclose.” The top of the Notice of Appointment

contains a boxed statement:

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It is most important that the parties have complete confidence in the
arbitrator’s impartiality. Therefore, please disclose any past or present
relationship with the parties, their counsel, or potential witnesses, direct or
indirect, whether financial, professional, social or of any other kind.... Any
doubts should be resolved in favor of disclosure. If you are aware of direct or
indirect contact with such individuals, please describe it below. The AAA will
call the facts to the attention of the parties’ counsel.
Just below the boxed statement is the following: “If you are able to accept this responsibility
as Arbitrator, please sign and return this form to the AAA.” The Arbitrator signed the form,
expressly affirming that “the panel biography provided by the American Arbitration
Association is accurate and complete.” Atno time before, during, or after the arbitration did
the Arbitrator disclose his prior relationship with SG Law Firm or New Century’s co-counsel.
Positive Software represents that it did not become aware of this relationship until it did
additional background investigation on the Arbitrator following the award in an attempt to

understand a result that it did not believe was consistent with the record.

B. Ina Nondisclosure Case, Vacatur Is Required Where the
Facts Support a Reasonable Impression of Partiality

1, The Supreme Court’s Commonwealth Coatings Decision. — The United States
Arbitration Act authorizes vacatur of an arbitration award “where there was evident partiality
... in the arbitrators.” 9 U.S.C. § 10. Interpreting that provision in favor of broad disclosure,
the Supreme Court adopted “the simple requirement that arbitrators disclose to the parties
any dealings that might create an impression of possible bias.” Commonwealth Coatings
Corp. v. Continental Cas. Co., 393 U.S. 145, 149 (1968) (emphasis added). The standard of

Commonwealth Coatings finds support in many of the policies underlying arbitration.

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First, the high deference given to an arbitrator’s rulings’’ demands a high standard of
impartiality. Congress desired “to provide not merely for any arbitration but for an impartial
one.” Commonwealth Coatings, 393 U.S. at 147. Accordingly, “we should, if anything, be
even more scrupulous to safeguard the impartiality of arbitrators than judges, since the
former have completely free rein to decide the law as well as the facts and are not subject to
appellate review.” Jd. at 149.

Second, a policy of full disclosure increases faith in the arbitration system by assuring
the parties that they are aware of all relevant facts in the selection of the arbitrator. Inability
to rely on the impartiality of the arbitrator frustrates the federal policy favoring arbitration
and jeopardizes its continued use as an alternative method of dispute resolution. See id. at
150 (“We cannot believe that it was the purpose of Congress to authorize litigants to submit
their cases and controversies to arbitration boards that might reasonably be thought biased
against one litigant and favorable to another.”); see also AAA Notice of Appointment (“It
is most important that the parties have complete confidence in the arbitrator’s impartiality.

Therefore, please disclose any past or present relationship with the parties, their counsel, or

It is well-established that review of an arbitration award itself is “exceedingly deferential.”
Brabham vy. A.G. Edwards & Sons, Inc., 376 F.3d 377, 380 (Sth Cir. 2004). The Fifth Circuit
observed:
[E]stablished rules of deference foreclose all but the most limited review.
Arbitrators need not give reasons for their awards. Even when arbitrators do
provide a rationale for their awards, courts may not review that reasoning.
Uncertainty about arbitrators’ reasoning cannot justify vacatur, for a court
must resolve all doubts in favor of arbitration.
Id. at 385 (citations omitted).

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potential witnesses, direct or indirect, whether financial, professional, social or of any other
kind.”).

Third, the Supreme Court’s holding in Commonwealth Coatings reflects its judgment
that the parties, rather than arbitrators or courts, are in the best position to ensure the
selection of an impartial arbitrator. Arbitrators may have incentives not to disclose all
potentially problematic relationships voluntarily. A rule favoring full disclosure protects both
the arbitrator and the parties: “In many cases the arbitrator might believe the business
relationship to be so insubstantial that to make a point of revealing it would suggest he is
indeed easily swayed, and perhaps a partisan of that party. But if the law requires the
disclosure, no such imputation can arise.” Jd. at 151 (White, J., concurring).

Similarly, the parties are in a better position than courts to judge the impartiality of
the arbitrator. “The judiciary should minimize its role in arbitration as judge of the
arbitrator’s impartiality. That role is best consigned to the parties, who are the architects of
their own arbitration process, and are far better informed of the prevailing ethical standards
and reputations within their business.” Jd. A rule favoring full disclosure minimizes the
court’s role in determining the impartiality of the arbitrator. Jd. at 152 (“If arbitrators err on
the side of disclosure, as they should, it will not be difficult for courts to identify those
undisclosed relationships which are too insubstantial to warrant vacating an award.”).

In the final paragraph of the majority opinion, the Court emphasizes that “any tribunal
permitted by law to try cases and controversies not only must be unbiased but also must avoid

even the appearance of bias.” /d. at 150. This full disclosure has been incorporated by the

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AAA, which provides arbitrators with multiple reminders of their “obligation to disclose any
circumstance likely to affect impartiality or create an appearance of partiality.” (emphasis
added).

2. “Evident Partiality” in Nondisclosure Cases. — After Commonwealth Coatings,
the Fifth Circuit has not “definitively addressed” the standard for evident partiality. Mantle
v. Upper Deck Co., 956 F. Supp. 719, 728 (N.D. Tex. 1997). Other circuits have developed
two different standards for evident partiality, one for nondisclosure cases, and one for other
claims of bias. In nondisclosure cases, courts have adopted a more lenient “reasonable
impression of partiality” standard. See, e.g., Schmitz v. Zilveti, 20 F.3d 1043, 1049 (9th Cir.
1994); Al-Harbi v. Citibank, N.A., 85 F.3d 680, 683 (D.C. Cir. 1996); Olson v. Merrill
Lynch, Pierce, Fenner & Smith, 51 F.3d 157, 159-60 (8th Cir. 1995); Middlesex Mutual Ins.
Co. v. Levine, 675 F.2d 1197, 1200 (11th Cir. 1982). Cases not involving nondisclosure use
a more strict standard for evident partiality. In Morelite Construction Corporation v. New
York City District Council Carpenters Benefit Funds, 748 F.2d 79 (2d Cir. 1984), the court
concluded that an arbitrator is “evidently partial” only where the circumstances were such
that a “reasonable person would have to conclude that [the] arbitrator was partial to one party
to the arbitration.” Jd. at 84. Accord Peoples Sec. Life Ins. Co. v. Monumental Life Ins. Co.,

991 F.2d 141, 146 (4th Cir. 1993)”; Health Services Mgmt. Corp. v. Hughes, 975 F.2d 1253,

”° Peoples Security is somewhat different in that it involved an attorney for a litigant joining
a different office of the arbitrator’s law firm after the arbitrator had been selected. Because
Peoples Security did not involve a failure to disclose a prior relationship before selection of
the arbitrator, it does not seem to fit in the nondisclosure category.

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1264 (7th Cir. 1992); Apperson v. Fleet Carrier Corp., 879 F.2d 1344, 1358 (6th Cir.

1989).?!

*! At least one court has not considered these to be different standards applicable in different
circumstances, but rather two conflicting standards adopted by different courts in the wake
of Commonwealth Coatings:

Although Justices White and Marshall joined fully in Justice Black’s
opinion for the Court, some lower federal courts have purported to see a
conflict between the two writings. By treating Justice Black’s opinion as a
mere plurality, they have felt free to reject the suggestion that “evident
partiality” is met by an “appearance of bias,” and to apply a much narrower
standard.

For example, in Morelite Construction Corporation v. New York City
District Council Carpenters Benefit Funds, 748 F.2d 79 (2d Cir. 1984), the
court expressly referred to Justice Black’s opinion as one for a plurality of four
justices. Id. at 82. Working “on a relatively clean slate,” the court reasoned
that parties agree to arbitrate precisely because they prefer a panel with
expertise regarding the subject matter of the dispute. Jd. at 83. Because this
expertise often comes through experience in the field, which may have
involved personal dealings with the parties, the court concluded that something
more than an “appearance of bias” was necessary to disqualify an arbitrator.
Id. at 83-84. “To disqualify any arbitrator who had professional dealings with
one of the parties (to say nothing of a social acquaintanceship) would make it
impossible, in some circumstances, to find a qualified arbitrator at all.” Jd. at
83. Balancing the competing goals of expertise and impartiality, the court
concluded that an arbitrator is “evidently partial” only where the circumstances
were such that a “reasonable person would have to conclude that [the]
arbitrator was partial to one party to the arbitration.” Jd. at 84 (emphasis
added).

At least three other federal circuits have also adopted an “evident
partiality” standard. See Peoples Security Life Ins. Co. v. Monumental Life Ins.
Co., 991 F.2d 141, 146 (4th Cir. 1993) (adopting the Morelite standard);
Apperson v. Fleet Carrier Corp., 879 F.2d 1344, 1358 (6th Cir. 1989) (same);
Health Services Management Corp. v. Hughes, 975 F.2d 1253, 1264 (7th Cir.
1992) (holding that the alleged conflict “must be so intimate . . . as to cast
serious doubt on the arbitrator’s impartiality,” and further holding that the

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Application of a more lenient standard in nondisclosure cases is appropriate for
several reasons. First, it is consistent with Commonwealth Coatings. “Finding a ‘reasonable

impression’ of partiality is not equivalent to, nor does it imply, a finding of actual bias.

interest or bias “must be direct, definite and capable of demonstration rather
than remote, uncertain or speculative”).

In contrast, other federal courts, focusing on the need for full disclosure
to parties who are choosing their own arbitrators, have adopted a broader
standard. For example, in Schmitz v. Zilveti, 20 F.3d 1043, 1049 (9th Cir.
1994), the court held that an arbitrator had a duty to disclose that his law firm
had represented the parent company of an arbitrating party. The court reasoned
that “parties can choose their arbitrators intelligently only when facts showing
potential partiality are disclosed.” Jd. at 1047. Concluding that Commonwealth
Coatings was controlling precedent, the court decided that the “best
expression” of the Supreme Court’s holding is that evident partiality is present
when “undisclosed facts show a reasonable impression of partiality.” Jd. at
1046. This standard, of course, is much broader than that articulated in
Morelite, as circumstances can convey an impression of partiality without
necessarily dictating a conclusion of partiality, as required under Morelite. See
also Middlesex Mutual Ins. Co. v. Levine, 675 F.2d 1197, 1200 (11th Cir.
1982) (adopting “reasonable impression of possible bias” standard, and
holding that arbitrator had a duty to disclose that he was involved in an
ongoing legal dispute with an insurer party); Olson v. Merrill Lynch, Pierce,
Fenner & Smith, 51 F.3d 157, 159-60 (8th Cir. 1995) (recognizing that
disclosure of “even indirect ties” will aid the arbitration process, and holding
that arbitrator was under a duty to disclose business relationship between his
firm and party); Al-Harbi v. Citibank, N.A., 85 F.3d 680, 683 (D.C. Cir. 1996)
(recognizing arbitrator’s duty to disclose facts which “might create an
impression of possible bias”).

Burlington N.R.R. v. TUCO, 960 S.W.2d 629, 634 (Tex. 1997). See id. at 636 (holding “that
a prospective neutral arbitrator selected by the parties or their representatives exhibits evident
partiality if he or she does not disclose facts which might, to an objective observer, create a
reasonable impression of the arbitrator’s partiality. We emphasize that this evident partiality
is established from the nondisclosure itself, regardless of whether the nondisclosed
information necessarily establishes partiality or bias.”) (emphasis in original).

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Otherwise, the Commonwealth Coatings court could not have held that a reasonable
impression of partiality was present when no actual bias was shown.” Schmitz, 20 F.3d at
1047. Second, it is consistent with the policies of the Federal Arbitration Act:

The policies of 9 U.S.C. § 10 also support the notion that the standard for
nondisclosure cases should differ from that used in actual bias cases. In a
nondisclosure case, the integrity of the process by which arbitrators are chosen
is at issue. Showing a “reasonable impression of partiality” is sufficient in a
nondisclosure case because the policy of section 10(a)(2) instructs that the
parties should choose their arbitrators intelligently. Commonwealth Coatings,
393 U.S. at 151 (White, J., concurring). The parties can choose their arbitrators
intelligently only when facts showing potential partiality are disclosed.
Whether the arbitrators’ decision itself is faulty is not necessarily relevant. But
in an actual bias determination, the integrity of the arbitrators’ decision is
directly at issue. That a reasonable impression of partiality is present does not
mean the arbitration award was the product of impropriety.

Id. at 1047.” Finally, the fact of the nondisclosure itself may create an appearance of bias,
even when the underlying facts themselves would not support a finding of actual bias. See
Burlington, supra, 960 S.W.2d at 636.

In view of this distinction, the line of cases adopting the heightened actual bias
standard from Morelite, 748 F.2d 79 (2d Cir. 1984), which was not a nondisclosure case, is
inapposite. The concern in actual bias cases is that absent a clear and direct showing of
actual bias, the most qualified arbitrators, who are likely to have the broadest business

experience, will frequently be disqualified because of their previous experience with parties.

Even one of the cases that New Century cites for a heightened conclusion of partiality
standard, recognizes the distinction between nondisclosure cases and ordinary bias cases.
Mantle v. Upper Deck Co., 956 F. Supp. 719, 728-29 (N.D. Tex. 1997) (noting that for most
courts the heightened actual bias standard applies “where non-disclosure is not alleged”).

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The question here is not whether the Arbitrator’s co-counsel relationship with SG Law Firm,
New Century’s co-counsel, and others actually biased his decision, but whether the parties
had a right to have those facts disclosed at the outset. The nondisclosure cases insist the
parties do have that right and that it is an essential part of making an intelligent selection.
The actual bias cases set the bar for what kind of information, if disclosed, would be
sufficient to vacate an arbitration award on the basis of partiality toward one side. Thus, the
Courts of Appeals have articulated two different standards designed to promote two different
goals: while a higher threshold for showing actual bias ensures arbitrators with broad
experience are not easily disqualified, a demanding full disclosure rule ensures that the
parties have the information they need to make an intelligent selection.

3. Promoting Disclosure Is Consistent with the Parties’ Expectations. —
Additionally, the full disclosure rule of Commonwealth Coatings reinforces the parties’
expectations that arbitrators will abide by the Rules of the American Arbitration Association
(and related rules), which the Supreme Court deemed “highly significant.” 393 U.S. at 149.
The following AAA rules and guidelines echo the full disclosure principles and at times
borrow the language of Commonwealth Coatings:

1. AAA, Code of Ethics for Arbitrators in Commercial Disputes, provides in relevant
part:

Persons who are requested to serve as arbitrators should, before accepting,
disclose . . . any existing or past financial, business, professional, family, or
social relationships which are likely to affect impartiality or which might
reasonably create an appearance of partiality or bias. Persons requested to
serve as arbitrators should disclose any such relationships which they
personally have with any party or its lawyer . . . (emphasis added).

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2. AAA, Disclosure and Challenge of an Arbitrator, provides in relevant part:

Q. Are arbitrators obligated to make disclosures?

A. Arbitrators must disclose any relationship between themselves and a party
representative, or a witness. The AAA’s rules require that neutral arbitrators
be impartial, and that the parties have confidence in their impartiality. The
rules require every neutral arbitrator “to disclose to the AAA any
circumstances likely to affect his or her impartiality, including any bias or any
financial or personal interest in the result of the arbitration or any past or
present relationship with the parties or their representatives.” This is also
dealt with in the AAA’s Code of Ethics for Commercial Arbitrators.

Q. Are there any general principles regarding disclosures?
A. Yes. They are as follows:

1. Every disclosure, no matter how insignificant should be
communicated to the parties.

2. If information received from the arbitrator or another source seems
vague or incomplete, further inquiries should be made to gather pertinent facts
for transmittal to the parties.

Q. Do I need to disclose prior arbitrations or contact with the law firms
involved or only with counsel on the current case?
A. All contact with the firm or parties involved shall be disclosed.

Q. Can the final award be vacated if the arbitrator fails to make a disclosure?
A. As guidelines for the exercise of arbitrator discretion in this area, the
following circumstances were deemed sufficient by the courts to require
vacature of the award on the ground of partiality: . . .

5. Arbitrator had a case in which the arbitrator was a party or counsel
before [with] one who is now a party or counsel (emphasis added).

3. AAA, Guide to Commercial Arbitrators, provides in relevant part:

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If you discover, upon being asked to serve, some prior or present
business connection with one of the parties and the contact is so close as to be
disqualifying, you should decline to serve. Not every business relationship
casts doubt on an arbitrator’s impartiality. Often, it is enough for an arbitrator
to disclose the connection before accepting the appointment. Arbitrators are
advised, whenever a question as to such potentially disqualifying information
arises, to err in favor of disclosing it to the parties.

When parties and their witnesses assemble in the hearing room, you
might recall for the first time an association with a person involved. Prompt
disclosure gives the parties an opportunity to waive their objections. Such
a waiver will bar any subsequent objection to the award on grounds of bias.

It is clear from these rules that arbitrators are expected by the AAA as well as the parties to
provide extremely broad disclosure, certainly including serving as co-counsel with one of the
party’s law firms and, more specifically, one of the party’s lawyers. These rules further
illustrate that following the broad disclosure principles of Commonwealth Coatings will
reinforce rather than upset the existing expectations of the parties.

C. A Reasonable Impression of Partiality Exists in This Case
In view of Commonwealth Coatings and its progeny, the Court concludes that in

nondisclosure cases, an arbitration award must be vacated where there is a reasonable
impression of partiality. One way to assess whether undisclosed facts convey a reasonable
impression of partiality is to inquire whether those facts would be material to a lawyer
selecting an arbitrator, i.e., would a reasonable lawyer in Positive Software’s position have
wanted to know about the Arbitrator’s role in the Intel Litigation before selecting an
arbitrator. The answer to that question is clearly yes. Given the contentious nature of this

dispute, the duration and importance of the Intel Litigation, and the fact that the arbitration

was to be decided by a single arbitrator, the Court is of the firm conviction that any

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reasonable trial lawyer would want to know of an arbitrator-candidate’s prior association
with opposing counsel before choosing him as the sole arbitrator. Accordingly, the
nondisclosure of that information creates a reasonable impression of partiality.

Alternatively, the Court will consider directly whether the failure to disclose the prior
relationship between the Arbitrator and New Century’s counsel “might create an impression
of possible bias.” Commonwealth Coatings, 393 U.S. at 149. Here the prior relationship was
an extensive one, extending over years in high profile litigation. It involved not just the two
law firms working together, it personally involved the Arbitrator and New Century’s co-
counsel. And even if New Century is correct that its co-counsel quit working on the Intel
Litigation before the Arbitrator began working on it, co-counsel’s name remained on the
pleadings and in court records for years after that; that fact alone is significant to the extent
the appearance of impropriety is the issue. The relationship between the two law firms was
even more extensive. Finally, because the AAA rules plainly required disclosure of that prior
relationship, the nondisclosure in violation of AAA rules heightens the inference of
concealment and the appearance of impropriety. Under all these circumstances, the Court
holds that the nondisclosure of the prior relationship creates a reasonable impression of
partiality.

Nevertheless, New Century suggests two reasons why the Court should find in its
favor. First, New Century claims that Positive Software waived its nondisclosure objection
by failing to raise it during the arbitration. “Although it is true that a disgruntled party cannot

object after an award has been made, Cook Industries, Inc. v. C. Itoh & Co., 449 F.2d 106

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(2d Cir. 1971), cert. denied, 405 U.S. 921, 30 L. Ed. 2d 792, 92 S. Ct. 957 (1972), this rule
applies only where the party has actual knowledge of the facts that form the basis of the
objection, see Middlesex Mutual Ins. Co. v. Levine, 675 F.2d 1197 (11th Cir. 1982).”
Morelite, 748 F.2d at 84. Here, Positive Software did not learn those facts until after the
arbitration. Accordingly, it did not waive its objection.

Second, although New Century does not expressly claim that the Arbitrator did not
remember that SG Law Firm and New Century’s co-counsel served with him as co-counsel
in the Intel Litigation, New Century hints that perhaps he just forgot. The Court finds that
claim factually improbable and legally irrelevant. As the Schmitz Court noted,

[A] reasonable impression of partiality can form when an actual conflict
of interest exists and the lawyer has constructive knowledge of it. That the
lawyer forgot to run a conflict check or had forgotten that he had previously
represented the party is not an excuse. Also, an arbitrator may not know facts
of which he may have been suspicious or of which he was on notice which, if
true, would create a reasonable impression of partiality if not investigated and
disclosed. Requiring arbitrators to make investigations in certain
circumstances gives arbitrators an incentive to be forthright with the parties,
honestly disclosing what arbitrators might otherwise have an incentive to hide.
Commonwealth Coatings establishes that the parties rather than the arbitrators
or the courts should be the judges of the partiality of arbitrators.

If the parties are to be judges of the arbitrators’ partiality, duties to
investigate and disclose conflicts must be enforced, even if later a court finds
that no actual bias was present. We therefore decline to adopt a per se rule that
no reasonable impression of partiality can be found absent a showing that the
arbitrator knew the facts on which it is based.

20 F.3d at 1048-49 (internal citations omitted). A full disclosure rule is rendered toothless

if the corresponding duty to investigate is not enforced. Prospective arbitrators must not be

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permitted to turn a blind eye toward potentially problematic conflicts of interest. Here, the
Arbitrator had ample, even redundant, notice of his duty to investigate any prior co-counsel
relationships with SG Law Firm and New Century’s co-counsel. The Court therefore finds
at minimum he had constructive knowledge of those relationships, and his failure to disclose
them raises a reasonable impression of partiality.”? Positive Software’s motion to vacate the

arbitration award is, therefore, granted.”

The importance of disclosure here is amplified by Positive Software’s claims that the
Arbitrator was actually biased. On virtually every close issue, he decided against Positive
Software. Some of those decisions appear to the Court to be questionable, though the Court
need not decide on this occasion whether they were a manifest disregard of the law.
Moreover, the tone of the Award reflects negative feelings towards Positive Software’s
claims. See Award at 7, 35, 46. Had the arbitrator disclosed his role in the Intel Litigation,
and the parties agreed to go forward, Positive Software’s arguments about actual bias might
seem more like “sour grapes.” However, the nondisclosure bolsters the significance of the
facts left undisclosed, and also makes the actual bias argument more plausible. In view of
the Court’s disposition of the disclosure issue, it need not resolve the actual bias claim. It
is certainly possible that Positive Software’s aggressive conduct in the arbitration and its
grandiose damage claims gave rise to the Arbitrator’s disdain. See Award at 7 (“It involves
a saga of how failure to renew an $86,100 software license has led to a claim for
$500,000,000 in damages in this Arbitration, and for $38,000,000,000 in Federal Court.”).
Had the Arbitrator disclosed his prior relationship with New Century’s counsel, this Court
would not be left wondering whether Positive Software earned the Arbitrator’s disdain in this
case or inherited it from the Intel Litigation. See, e.g., Commonwealth Coatings, 393 U.S.
at 151 (“[I]t is far better that the relationship be disclosed at the outset, when the parties are
free to reject the arbitrator or accept him with knowledge of the relationship and continuing
faith in his objectivity, than to have the relationship come to light after the arbitration, when
a suspicious or disgruntled party can seize on it as a pretext for invalidating the award.”);
AAA, Guide to Commercial Arbitrators (“Prompt disclosure gives the parties an opportunity
to waive their objections. Such a waiver will bar any subsequent objection to the award on
grounds of bias.’’).

“On August 27, 2004, Positive Software moved to amend its motion to vacate arbitration
award to assert claims that the award should be vacated due to New Century’s fraud in, inter
alia, failing to produce the November 2000 script for the original LoanForce database. New

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CONCLUSION

Arbitration is intended to be an expeditious and less expensive alternative to
traditional litigation. This is surely a case study of how that can go wrong. That state of
affairs could not obtain without the active participation of both sides. Although the Court
hopes that the second arbitration will be expeditious and inexpensive, the Court is not overly
optimistic on that point. Given that, the Court would not order a second arbitration absent
a firm conviction that it is here required by the law and facts. In view of the second
arbitration, counsel are reminded that their duty to represent clients zealously is only one of
the duties that attorneys owe to clients, to the courts, and to their profession.

Accordingly, it is ORDERED that all motions for contempt are denied; that New
Century’s motion to confirm is denied; that Positive Software’s motion to vacate is granted.
The parties are further ordered to arbitrate this dispute; in the second arbitration, the parties
are directed to make no reference to any ruling of the Arbitrator in the first arbitration and
are specifically directed not to advise the new arbitrator, directly or indirectly, of the Award
or any portion of the Award. It is further ordered that the arbitrator selected for the second
arbitration shall not read or consider in any way any ruling of the Arbitrator in the first
arbitration, including but not limited to the Award. It is further ordered that this action is

stayed pending conclusion of the second arbitration. The parties are ordered to file no further

Century opposes the motion as untimely. Due to the Court’s disposition of the partiality
issue, the motion to amend is denied as moot. If the Court were to address that motion on
the merits, it likely would grant the motion to amend and grant the amended motion to vacate
for, inter alia, New Century’s failure to produce the November 2000 script.

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pleadings in this Court without leave of Court other than (a) motions under Rules 59 and 60,
(b) motions incidental to any appeal of this Order, and (c) motions to lift stay. New
Century’s March 18, 2004 motion to alter is granted; all pending motions to seal are granted;

all pending motions not expressly granted in this Order are denied.

SIGNED this QE day of September, 2004.

AC

David C. Godbey
United States District Judge

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